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                     UNITED STATES DISTRICT COURT
            NORTHERN DISTRICT OF TEXAS - FORT WORTH DIVISION

JOSEPH FRIEDHEIM,                            §
IASMIN FRIEDHEIM, and                        §
JF SOLUTIONS LTD.,                           §
     Plaintiffs/Counter-Defendants           §
                                             §
v.                                           §      Civil Action No. 4:20-cv-335
                                             §
THOMAS HOEBER and                            §
   Defendants/Counter-Plaintiffs             §
HÖEBER MEDIA, LLC,                           §
    Defendant/Intervenor                     §

           PLAINTIFFS’ AMENDED CERTIFICATE OF SERVICE

        This is filed to amend the certificate of service on Plaintiffs Joseph

Friedheim, Iasmin Friedheim, and JF Solutions LTD. Responses to Höeber Media,

LLC’s Third Set of Request for Admissions (“Admissions”).

        Plaintiffs served their Admissions (attached hereto as Exhibit A) on March

11, 2021. Service was effected by depositing the Admissions in a dropbox folder

set up by counsel for Höeber Media, LLC (“Hoeber”).

        The certificate of service on the Admissions originally listed the method of

service as email. That statement was incorrect. In a previous transfer of production,

the parties established use of a Dropbox used to transfer documents. The response

to the requested admissions was provided to opposing counsel to that same

Dropbox. The certificate of service was left unchanged in error, making this

Amended Certificate of Service necessary.


No. 4:20-cv-335 Amended Certificate of Service                                     1
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                                          Respectfully submitted,

                                          /s/ Warren V. Norred
                                          Warren V. Norred
                                          NORRED LAW, PLLC
                                          State Bar No. 24045094
                                          515 E. Border Street
                                          Arlington, TX 76010
                                          wnorred@norredlaw.com
                                          O: 817-704-3984 / F: 817-524-6686
                                          Attorney for Plaintiffs


CERTIFICATE OF SERVICE – I hereby certify that on April 9, 2021, I served
this document to Brian Casper, Counsel for Defendant Thomas Hoeber and
Intervenor Hoeber Media, LLC, via the Court's e-filing system.
                                          /s/ Warren V. Norred
                                          Warren V. Norred




No. 4:20-cv-335 Amended Certificate of Service                                      2
